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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   -X


 UNITED STATES OF AMERICA,                                      CONSENT TO PROCEED BY
                                                                VIDEO OR TELE CONFERENCE
                        -agamst-


                                                                7:20-cr-444-5-VB
Raymond Brown
                        Defendant(s).
                                                                          -X


Defendant Raymond Brown hereby voluntarily consents to participate in the foUowlng
proceeding via JXj videoconferencing or Ex3 teleconferenclng:


D Initial Appearance Before a Judicial Officer


D Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
        Indictment Form)


D Guilty Plea/Change of Plea Hearing

IZi Bail/Detention Hearing

D Conference Before a Judicial Officer - Assignment of Counsel



                                                  /S/Joseph A. Vita
,5 \ ^^^ ^'
Defendant's Signature                             Defendant's Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
Raymond Brown                                     Joseph A. Vita, Esq.

Print Defendant's Name                            Print Counsel's Name



This proceeding was conducted by reliable video or^crpHone'co^ferencing technoloj


  f^
Date*                                             U^B-^ct JndgC/Vs. Magistrate Judge
